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 1   [Counsel listed on signature page]

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 8                                UNITED STATES DISTRICT COURT

 9                               NORTHERN DISTRICT OF CALIFORNIA

10                                         SAN JOSE DIVISION

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12   ASUS COMPUTER INTERNATIONAL; and                     Case No. 15-cv-1716 (BLF)
     ASUSTEK COMPUTER INCORPORATED
13                                                        JURY MATERIALS
                   Plaintiffs,
14                                                          Pretrial Conference Date: April 4, 2019
     vs.                                                    Time: 1:30 p.m.
15                                                          Judge: Hon. Beth Labson Freeman
     INTERDIGITAL, INC.; INTERDIGITAL
16   COMMUNICATIONS, INC;
     INTERDIGITAL TECHNOLOGY
17   CORPORATION; IPR LICENSING, INC.;
     and INTERDIGITAL PATENT HOLDINGS,
18   INC.,

19                 Defendants.

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                                  JURY MATERIALS – CASE NO. 15-CV-1716 (BLF)
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 1          Pursuant to Judge Freeman’s Standing Order Re Final Pretrial Conference – Jury Trial,

 2   Plaintiffs ASUS Computer International and ASUSTeK Computer Incorporated (collectively,

 3   “ASUS”) and Defendants InterDigital, Inc., InterDigital Communications, Inc., InterDigital

 4   Technology Corporation, IPR Licensing, Inc. and InterDigital Patent Holdings, Inc. (collectively,

 5   “InterDigital”), submit the following Jury Materials:

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 7
          Appendix A                       Jointly Proposed Preliminary Statement to the Jury
 8
          Appendix B                       Jointly Proposed Jury Questionnaire
 9
          Appendix C                       Jointly Proposed Jury Instructions
10
          Appendix D                       ASUS’s Proposed Verdict Form
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          Appendix E                       InterDigital’s Proposed Verdict Form
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        Case 5:15-cv-01716-BLF Document 423 Filed 03/28/19 Page 3 of 3



 1   Dated: March 28, 2019                                Respectfully submitted,

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 3   By: /s/ Brian R. Nester__________                    By: s/ David S. Steuer
             Brian R. Nester                                David S. Steuer
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19                                                        IPR Licensing, Inc.; and
                                                          InterDigital Patent Holdings, Inc.
20   Attorneys for Plaintiffs
     ASUS Computer International, and
21   ASUSTeK Computer Incorporated

22

23                                          Attorney Attestation

24          I hereby attest, pursuant to Local Rule 5-1(i)(3), that the concurrence in the filing of this

25   document has been obtained from the signatory indicated by the “conformed” signature of (/s/) of

26   David S. Steuer within this e-filed document.

27                                                               /s/ Michael Franzinger

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                                  JURY MATERIALS – CASE NO. 15-CV-1716 (BLF)
